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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA

CLERK, U.S. Bi

COMPLAINT UNDER CIVIL RIGHTS ACT 42 U.S.C. § 1983 L_LALExANTe Me

Action Number
(To be supplied by the Clerk, U.S. District Court)

Please fill out this complaint form completely. The Court needs the information requested in
order to assure that your complaint is processed as quickly as possible and that all your claims
are addressed. Please print/write legibly or type.

I. PARTIES

A. Plaintiff:
(Name) (Inmate number)
() 4320 Lee Avenue
(Address)

Manassas, Virginia Z0|\0

Plaintiff MUST keep the Clerk of Court notified of any change of address due to transfer
or release. If plaintiff fails to keep the Clerk informed of such changes, this action may be
dismissed.

Plaintiff is advised that only persons acting under the color of state law are proper
defendants under Section 1983. The Commonwealth of Virginia is immune under the
Eleventh Amendment. Private parties such as attorneys and other inmates may not be
sued under Section 1983. In addition, liability under Section 1983 requires personal action
by the defendant that caused you harm. Normally, the Director of the Department of
Corrections, wardens, and sheriffs are not liable under Section 1983 when a claim against
them rests solely on the fact that they supervise persons who may have violated your rights.
In addition, prisons, jails, and departments within an institution are not persons under
Section 1983.

B. Defendant(s) ° , .
.  @lol. ‘ele Meletis jy Superintendent (official capacity)
(Name) (Title/Job Description)
4210 Lee Avenue
, (Address)

Manassas, Virginia ZOO
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2. a) (ot. Allen West (b) famate lassitical lah

(Name) (Title/Job Description)
4310_lee Avenue (othcial capacity)
(Address)

Manassas, Virgina LOU

3, @lt-Wanda Creighton Woh ttelease_M

(Name) (Title/Job Description)
AbD Lee Avenue (official capacity)
(Address)

Manassas, Virginia Zoo

If there are additional defendants, please list them on a separate sheet of paper. Provide all
identifying information for each defendant named.

Plaintiff MUST provide a physical address for defendant(s) in order for the Court to serve
the complaint. If plaintiff does not provide a physical address for a defendant, that person
may be dismissed as a party to this action.

II. PREVIOUS LAWSUITS

A. Have you ever begun other lawsuits in any state or federal court relating
to your imprisonment? Yes [ No[ ]
B. If your answer to “A” is Yes: You must describe any lawsuit, whether currently

pending or closed, in the space below. If there is more than one lawsuit, you
must describe each lawsuit on another sheet of paper, using the same outline,
and attach hereto.

1. Parties to previous lawsuit:

Piaintitts) Julius Lamart Hadaes

Defendant(s) ANAL Masse, Mir helle Hovle, OFC. Matti ,
Sheriff Lowell Griffen

2. Court (if federal court, name the district; if state court, name the county):

Western Disiact_of North Carolina, Ashenlle, N.C.
3. Date lawsuit filed: 4/24/2019
4. Docket number: 1: 39-(V-13F

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5. Name of Judge to whom case was assigned:

Martin Beidinger

6. Disposition (Was case dismissed? Appealed%(s it still pending? What relief was
grantee itary?) “Granted order or Stay Seheduled Jury Trail
9[22)1022

III. GRIEVANCE PROCEDURE

A. At what institution did the events concerning your current complaint take place:
2 - eqional Adult Center

B. Does the institution listed in “A” have a grievance procedure? Yes VY No[ ]

Cc, If your answer to “B” is Yes:

1. Did you file a grievance based on this complaint? Yes (iV ] No[ ]

2. If so, where and whenstrince William corttol a Zi- - 00408; 9 |- -0\b4

2- It~ Z l )
3. What was the result \gt. et li Ing *, About iSSues Apolo ast )
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De WA melvin me
4, Did you appeal? iy No[

5. Result eps Osbourne wont ‘due to exte, ati Ing circumstances

| hed mare Consecutive daus than au should. H Work force
ido bord is a0 not have fo remain. No Pelicy willYbe “giver on VA DOC working
D. If there was no prison grievance procedure in the ing geigles did you eIVANCL pa! z),

complain to the prison authorities? Yes[ ] No[ ] Proce (avec 7 biscde ara

If your answer is Yes, what steps did you take?

E. If your answer is No, explain why you did not submit your complaint to the
prison authorities:

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IV. STATEMENT OF THE CLAIM

State here the facts of your case. Describe how each defendant is involved and how you were harmed
by their action. Also include the dates, places of events, and constitutional amendments you allege
were violated.

If you intend to allege several related claims, number and set forth each claim in a separate
paragraph. Attach additional sheets if necessary.

1. Approximate ly Jan ary Zo,1021 inmates enrolled in the
Wort force program was denied ‘the Proper procedural due
process, Crerting A liberty interest being given dhe option either

Work aS essential workers in the main and modular Kitchen

ov being removed from athe transitional erly Work force

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inmates. These 2 “wits were a bid to dyeatment_and ¢omitions

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tomales worked over 20 plu ive days,

(2 toour sorts ina Kelchen around outside staft who brginally

Sel he (COVID-19 outbreak. No ¢ Tracing was done
casd V oS TATEMENE REET CLAM d¢Ant Aiied 09/22/21 Page 5 of 9 PagelD# 16

And inmates were Placed in aggravated and dangerous Conditions...
Col. feter Meletis (Superimendéntt), Cpt: Allen West, overseeing inmate
Security were Comp lie: p. plgting US ‘i These exploitable. onditions,
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a mt tps what T si gned tp Pe Wier’ ashed th Spea to Cpl. West
~_Hbrougl the plore er odin o.  emmand to Voice fowl, to UP a
And . aera hatardous working Conditions, mune andall.other
Wort orce inguries went ignore ‘dt No vith en Verbally Dromised
fo all Work Force inmates he would qoute," Put his heart and
ow ‘into writing us each. gl dual ledters to ensure our.
transition wee helena, Alnfortunately we never received these.
letters from dot. Noavi who. claimed. hit relations p> with Doc.
would hold. I. abt. Lnstead, ater several months of the % Promises,
(Approx. May Zoz 1) we. received a very eneric letter trom.
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Any weight towards the process ot, our’ transition, Since this -
dime several inmates have leap fogged. Work torce trom
general, Pep pulation, Saight D Wor, elease. The normal. Conditions
for tentral’ Kitchen trustees areas tollows; (2-15 A.M workers
10 Dm. worhers; modular Kitchen trustees, 8 A.M. worlers and_
le mt, Worhhers. From January. Zo cof - March zou LL Work.
Trorce inmates periormed the duties or Bb-34 cequl at trustee
AM [2M shifts. Since this time alter Work duties and potential
Pipes to COvID has Continued. As COVID variants have Continued;
Work force have been travel ng to Sbernezzar Church located
in Waid hricge e, VR; EVOC Police training Academy localed q
Bristouts Va, nd cia 34 ‘ounding Area eu gyags ar and
genera t ng money to e fall at the expens ree labor
nd Polerhally x34 ininates To COVID and increasing work

cast lNe STATEMENS 3 OFTHE ChAiMeftunt sed 09/22/21 Page 6 of 9 PagelD# 17

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case BY STATEMENDOFEVIRE BLAUMeltont @)led 09/22/21 Page 7 of 9 PagelD# 18

only td receive 4 letter drom Lt. Creighton on May 14,2011,

“Dear Mr. Hodges, based upon my written request ‘with te of

ou t» Departinent of Corrections, you have fot. been

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tom the Department of Chrrections. “Jo J then wrote dwectly

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V. RELIEF

] understand that in a Section 1983 action the Court cannot change my sentence, release me from

custody or restore good tim nderstand I should file a petition for a writ of habeas corpus if I

desire this type of relief. QT : (please initial)

"y plaintiff wants the Court to: (check those reme ifs ou se 4 Pro spe chive mone 4a ry fe het dleterm Int
Award money damages in the amount of $by 4 Juv Y- COVID Compensation DocvA “fil his workid

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Grant injunctive relief by [Wo ¢ OUDSe lors for rep
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Other to Dr iy

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VI. PLACES OF INCARCERATION

Please list the institutions at which you were incarcerated during the last six months. If you were
transferred during this period, list the date(s) of en Provide an address for each institution.

The france William- Manaisas Keaonal Adult Delentiory Center

9320 Lee Avenue J
Manassas, Virginia LOLO

VII. CONSENT

CONSENT TO TRIAL BY A MAGISTRATE JUDGE: The parties are advised of their right,
pursuant to 28 U.S.C. § 636(c), to have a U.S. Magistrate Judge preside over a trial, with appeal to
the U.S. Court of Appeals for the Fourth Circuit.

Do you consent to proceed before a U.S. Magistrate Judge: Yes [IY] No[_ J. You may
consent at any time; however, an early consent is encouraged.

VIII. SIGNATURE

If there is more than one plaintiff, each plaintiff must sign for himself or herself.
Signed this___(g , day of eplember 20. 21 _.
Plaintiff CT. =

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